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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                     CASE NO.: 1:21-cv-23434-DPG

  JESUS GONZALEZ

         Plaintiff,
  vs.


  BURGER KING CORPORATION
  d/b/a Burger King #71, and
  ZEBRA PROPERTIES, INC.,

         Defendants.
                                                 /

                                     NOTICE OF SETTLEMENT

         Plaintiff Jesus Gonzalez (“Plaintiff”), hereby files this Notice of Settlement, and informs

  the Court as follows:

         1.      Plaintiff has reached an agreement with Defendants BURGER KING

  CORPORATION d/b/a Burger King #71, and ZEBRA PROPERTIES, INC., (“Defendants”) to

  resolve the claims against them.

         2.      The parties are in the process of finalizing a confidential settlement agreement, and

  Plaintiff will be filing a Stipulation of Dismissal with the Court shortly.

                                                 Respectfully submitted,

                                                 /s/ J. Courtney Cunningham
                                                 J. Courtney Cunningham, Esq.
                                                 J. COURTNEY CUNNINGHAM, PLLC
                                                 FBN: 628166
                                                 8950 SW 74th Court, Suite 2201
                                                 Miami, FL 33156
                                                 T: 305-351-2014
                                                 cc@cunninghampllc.com
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                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 19, 2021, I electronically filed the foregoing
  document with the Clerk of the Court using the CM/ECF system.

                                         /s/ J. Courtney Cunningham
                                         J. Courtney Cunningham, Esq.




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